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Exhibit A
Case 2:20-cv-01309-MJP Document 86-1 Filed 08/14/24 Page 2 of 8

NATIONAL SECURITY AGENCY
FORT GEORGE G. MEADE, MARYLAND 20755-6000

FOIA Case: 106371B
28 June 2024

MICHELLE KINNUCAN

Dear Michelle Kinnucan:

This letter provides NSA's re-processed response to your Freedom of Information Act (FOIA)
request 106371 which, as amended, requests "both volumes I and II of ‘A Report to the Committee on
Appropriations - U.S, House of Representatives on the Effectiveness of the Worldwide Communications
Systems and Networks of the DoD, U.S.S. Liberty Incident'." This request is currently the subject of
pending litigation in Kinnucan v. NSA, et. al., United States District Court Western District of Washington
at Seattle, Case no, 20-1309. As indicated in NSA's motion to remand filed in the Ninth Circuit Court of
Appeals, NSA intended to re-process your FOIA request, consider and disclose additional information,
and conduct additional searches. That process is now complete.

NSA has determined that the documents you requested, Volumes I and II of the House
Appropriations Committee (HAC) report, are not agency records subject to the FOIA, as the records in
question were both created by and are controlled by the U.S. House of Representatives. As previously
indicated, NSA confirms that both volumes are clearly marked "NOT FOR RELEASE UNLESS AND
UNTIL AUTHORIZED BY COMMITTEE." Therefore, the FOIA does not mandate their release and the
Agency is not authorized to process the documents without the approval of the U.S. House of
Representatives. While NSA's decision is the same as its initial decision, NSA is releasing additional
information described below.

In consideration of the question of whether the HAC report is a congressional record, NSA
identified an agency record referencing NSA's possession of the HAC report. Although we have
determined that this document, an internal routing slip and memorandum, is not responsive to your FOIA
request, we have enclosed that record (two pages) pursuant to a discretionary release. This Agency is
authorized by various statutes to protect certain information concerning its activities. We have determined
that such information exists in in these two pages. Accordingly, those portions are exempt from disclosure
pursuant to the third exemption of the FOIA, which provides for the withholding of information
specifically protected from disclosure by statute. The specific statutes applicable in this case is Section 6,
Public Law 86-36 (50 U.S. Code 3605).

Additionally, we considered handwritten notes on some pages of the HAC report. NSA
considered whether these notes were responsive to your FOIA request and determined that they were not
responsive. NSA is therefore not processing them for release under FOIA’, with one exception, While
NSA determined that they are not responsive to the request itself, one note may bear on the question of
whether the HAC report is a congressional record and therefore, NSA has made the discretionary

' If the notes were responsive, NSA would process them under FOIA including considering whether any FOIA
exemption would apply.
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determination to disclose this information. In handwritten print across the cover pages of both Volume |
and Volume II a note says "Not releasable" "Information appeared in the press on 8 June '68."

Also, as previously disclosed, NSA confirms that both volumes of the HAC report are marked
"Top Secret.” A memorandum page in both volumes further contains a statement that "This report is
classified TOP SECRET because it contains information, so classified by the Department of Defense,
relating to matters involving national security of the United States."

Finally, as a part of the re-processing, NSA conducted additional searches for the purpose of
determining whether any additional records could be located that would shed light on the question of
whether the HAC report is a congressional record or an agency record and no additional records were
found.

Sincerely,

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Chief FOIA/PA Division
Initial Denial Authority

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NATIONAL SECURITY AGENCY
FORT GEORGE G. MEADE, MARYLAND 20755-6000

FOIA Case: 106371C
8 July 2024

MICHELLE KINNUCAN

Dear Michelle Kinnucan:

NSA has determined to make an additional discretionary release. Please see the attached record.

Sincerely,
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{ J {
SALLY A NICHOLSON
Chief FOIA/PA Division
Initial Denial Authority

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